Case 6:18-cv-01944-PGB-TBS Document 39 Filed 12/03/18 Page 1 of 5 PageID 341




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION



   OSCAR INSURANCE COMPANY
   OF FLORIDA,
                                                              CASE NO.: 6:18-cv-1944-Orl-40TBS
                            Plaintiff,

   vs.

   BLUE CROSS AND BLUE SHIELD OF
   FLORIDA, INC., d/b/a Florida Blue; HEALTH
   OPTIONS INC., d/b/a Florida Blue HMO; and
   FLORIDA HEALTH CARE PLAN INC., d/b/a
   Florida Health Care Plans,

                            Defendants.

   _________________________________________/

                     PLAINTIFF’S MOTION FOR LEAVE TO FILE REPLY

           Pursuant to Local Rules 3.01(c) and (d), Plaintiff Oscar Insurance Company of

   Florida (“Oscar”) respectfully moves the Court for leave to file a reply of no more than five

   pages to Florida Blue’s 1 opposition to Oscar’s Motion for Expedited Scheduling Conference

   and Entry of Scheduling Order (Doc. 12, “Scheduling Motion”).

           On November 30, Florida Blue filed its opposition (Doc. 37) to Oscar’s Scheduling

   Motion. Rather than simply opposing Oscar’s Scheduling Motion, Florida Blue seeks its

   own relief in the form of long extensions of time to respond not only to Oscar’s Motion for

   Preliminary Injunction (Doc. 11), but also to the Complaint (Doc. 1). Moreover, Florida


   1
    “Florida Blue” refers to Defendants Blue Cross and Blue Shield of Florida, Inc., d/b/a Florida Blue; Health
   Options Inc., d/b/a Florida Blue HMO; and Florida Health Care Plan Inc., d/b/a Florida Health Care Plans.
Case 6:18-cv-01944-PGB-TBS Document 39 Filed 12/03/18 Page 2 of 5 PageID 342




   Blue’s opposition raises issues regarding the legal standard pertaining to expedited discovery

   that were not addressed or reasonably anticipated in Oscar’s Scheduling Motion.

   Accordingly, Oscar respectfully submits that a reply brief would aid the Court in resolving

   the Scheduling Motion and the new issues raised by Florida Blue.

                                                ARGUMENT

           “The purpose of a reply brief is to rebut any new law or facts contained in the

   opposition’s response to a request for relief before the Court.” PK Studios Inc. v. R.L.R.

   Investments, LLC, No. 2:15-cv-00389-FTM-99CM, 2015 WL 12843877, at *1 (M.D. Fla.

   Dec. 8, 2015) (citation omitted) (internal quotation marks omitted).

           Here, Oscar should be allowed a reply brief for at least two reasons. First, Florida

   Blue goes well beyond introducing new law or facts in its opposition—it seeks its own relief.

   Specifically, Florida Blue requests an extension of time to respond to Oscar’s preliminary

   injunction motion to January 18, 2019, more than six weeks after December 3, when Florida

   Blue would otherwise be required to respond. See M.D. Fla. R. 3.01(b) (oppositions due

   within 14 days of service of a motion). Florida Blue also requests an extension of time to

   respond to the Complaint to February 28, 2019, more than two months after December 11,

   when Florida Blue would otherwise be required to respond.                         See Fed. R. Civ. P.

   12(a)(1)(A)(i) (response to complaint due within 21 days of service). Florida Blue’s attempt

   to use its opposition as a vehicle to seek relief from filing deadlines was not anticipated in

   Oscar’s moving brief—and also is procedurally improper. 2 Further, because Florida Blue


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     See, e.g., Federal Deposit Ins. Corp. v. Paleja, No. 6:13-cv-1097-Orl-22TBS, 2014 WL 12617786, at *4
   (M.D. Fla. June 26, 2014) (“[A] request for affirmative relief is not properly made when simply included in a
   response to a motion or other responsive pleading.”)



                                                        2
Case 6:18-cv-01944-PGB-TBS Document 39 Filed 12/03/18 Page 3 of 5 PageID 343




   failed to confer with counsel for Oscar regarding its requested relief, its opposition fails to set

   forth Oscar’s position. In reply, Oscar will demonstrate how it would be prejudiced by

   Florida Blue’s requested relief, which, for example, would allow Florida Blue to use the

   results of the current open enrollment period, which ends on December 15, in its opposition

   and preclude Oscar from addressing the same.

          Second, Florida Blue’s opposition argues that Oscar failed to satisfy the standard

   applicable to a motion to expedite discovery, which was not articulated or anticipated in the

   Scheduling Motion. In reply, Oscar will demonstrate that it has satisfied that standard, to the

   extent it is even applicable to the Scheduling Motion. Oscar will also explain how limited

   discovery can be conducted that will allow for the submission of evidence and briefing by

   both sides in time for a hearing on Oscar’s motion before the end of January.

          If the Court grants this motion, by 5:00 p.m. on the date of the Court’s order, Oscar

   will file its reply, which will aid the Court in resolving the Scheduling Motion and the new

   issues raised by Florida Blue.



                          Certification Pursuant to Local Rule 3.01(g)

          Oscar certifies that its counsel has conferred with counsel for Florida Blue about this

   motion by email and phone. Florida Blue’s counsel has informed Oscar that it will oppose

   this motion for leave to file a reply. Oscar respectfully requests that given the exigency of

   this case, Florida Blue be required to file its opposition brief by no later than close of

   business today.




                                                   3
Case 6:18-cv-01944-PGB-TBS Document 39 Filed 12/03/18 Page 4 of 5 PageID 344




   Dated: December 3, 2018            Respectfully Submitted,

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                                      4
Case 6:18-cv-01944-PGB-TBS Document 39 Filed 12/03/18 Page 5 of 5 PageID 345




                                CERTIFICATE OF SERVICE

          I hereby certify that on this 3rd day of December, 2018, the foregoing was filed

  electronically via the Court’s CM/ECF Filing System, which will notify registered

  counsel. I further certify that I caused the following parties to be served via electronic

  mail:

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                                                 5
